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                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Yiwu Mode E-Commerce Co Ltd.,                               )
                                                             )
                                                 Plaintiff,  )
                                                             ) Case No. 1:24-cv-00683
 v.                                                          )
                                                             ) Dist. Judge Lindsay C. Jenkins
 The Individuals, Partnerships, and                          )
 Unincorporated Associations Identified on                   ) Mag. Judge Jeffrey Cole
 Schedule A,                                                 )
                                                 Defendants. )

                            Notice of Dismissal Under Rule 41(a)(1)

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Yiwu Mode E-

Commerce Co Ltd. hereby dismisses this action with prejudice against the following defendant(s):

                           Def. No.            Defendant Name
                              75                YUN YUEYUE
                             111                  YIDEDE

Dated: May 24, 2024

                                                                     Respectfully,

                                                                     /s/Adam E. Urbanczyk
                                                                     AU LLC
                                                                     444 W. Lake St. 17th Floor
                                                                     Chicago, IL 60606
                                                                     adamu@au-llc.com
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